Case: 3:15-cr-50005 Document #: 69 Filed: 06/19/17 Page 1 of 8 Page|D #:362

UNITED STATES DISTRIC_T COURT

Northern District of Illinois

 

 

UNITED STATES OF AMERICA § JUDGMENT IN A CRIMINAL CASE
v. )
NCH Shamla § ease Number; 15 ca 50005-1
) UsM Number; 47330»424
)
§ Keith Allan Spielfogel,Terrence Patrick LeFevour,
Jeffrey Bruce Steinback
) Defen dant`s Attomey
THE DEFENDANT:
§ pleaded guilty to count(s) l.
I:I pleaded nolo contendere to count(s) which was accepted by the court
I:I was found guilty on ccunt(s) after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 USC § 666(2)(1)(]3) Bribery Conceming Programs Receiving Federal Funds 3/13/2015 l

 

The defendant is sentenced as provided in pages 2 through 8 of this judgment 'l`he sentence is imposed pursuant tc the Sentencing Reform
Act of 1984.

I:l The defendant has been found not guilty on count(s)
E] Count(s) 2 & 3 dismissed on the motion of the United States.

lt is ordered that the defendant must notify the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid If ordered to pay
restitution, the defendant must notify the court and United States Attorraey of material changes in economic circumstances

6/12/201?
Date cf Imposition of J gment

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Sign`t'itured ofJudg% \ W\X

Frederick J. Kapaia, United States District Judge
Name and Title of .Tudge

G;/!f»i,/t’)

Date

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Sheet 2 f ]rnprisonmenl Judgment - Page 2 of 8

DEFENDANT: NEIL SHARMA
CASE NUMBER: l5 CR 50005-1

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
30 Months
IX] The court makes the following recommendations to the Bureau of Prisons: The defendant should be assigned to an appropriate facility
which can provide him with a residential drug abuse treatment program.
[:l The defendant is remanded to the custody of the United States Marshal.
l:] The defendant shall surrender to the United States Marshal for this district:
\:] at on
l:l as notified by the United States Marshal.
§ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
IX] before 2:00 pin on September 5, 2017.
l:] as notified by the United States Marshal.
l:j as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to at , with a certified copy of this
judgment.
UNITED STATES MARSI-IAL
By

 

DEPUTY UNITED STATES MARSHAL

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Sheet 3 - Supeivised Release .Iudgment » Page 3 of 8

DEFENDANT: NEIL SHARMA
CASE NUMBER: 15 CR 50005-1

MANDATORY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C § 3583(d)

Upon release from imprisonment, you shall be on supervised release for a term of:
] Year.

You must report to the probation office in the district to which you are released within 72 hours of release from the custody of the
Bureau of Prisons. The court imposes those conditions identified by checkmarks below:

During the period of supervised release:

§ ( l) you shall not commit another Federal, State, or local crime.

(2) you shall not unlawfully possess a controlled substance

(3) you shall attend a public, private, or private nonprofit offender rehabilitation program that has been approved by the court, if
an approved program is readily available within a SO-mile radius of your legal residence [Use for a first conviction of a
domestic violence crime, as defined in § 3561([)).]

(4) you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C. §
16913).

(5) you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.

(6) you shall refrain from any unlawful use cfa controlled substance AND submit to one drug test within 15 days of release on
supervised release and at least two periodic tests thereafter, up to 104 periodic tests for use of a controlled substance during
each year of supervised release [This mandatory condition may be ameliorated or suspended by the court for any defendant
if reliable sentencing information indicates a low risk of future substance abuse by the defendant.]

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DISCRETIONARY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C § 3563(b) AND
18 U.S.C § 3583(d)

Discretionary Conditions - The court orders that you abide by the following conditions during the term of supervised release because such
conditions are reasonably related to the factors set forth in § 3553(21}( 1) and (a)(Z)(B)` (C)., and (D); such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in § 3553 (a)(Z) (B), (C), and (D); and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.

The court imposes those conditions identified by checkmarks below:

During the period of supervised release:

(l) you shall provide financial support to any dependents if financially able.

(2) you shall make restitution to a victim of the offense under § M (but not subject to the limitation of § 3663 a or
§ 3663A§c1§1){A1).

(3) you shall give to the victims of the offense notice pursuant to the provisions of § _3_5_5§, as follows:

(4) you shall seek, and work conscientiously at, lawful employment or pursue conscientiously a Coursc of Study or
vocational training that will equip you for employment

(5) you shall refrain from engaging in an occupation, business, or profession which awards medical provider
contracts This provision is not intended to preclude defendant from practicing as a doctor in the medical field
should hein the future regain his medical license

(6) you shall refrain from knowingly meeting or communicating with any person whom you know to be engaged, or
planning to be engaged, in criminal activity and from:

[] visiting the following type of places:
§ knowingly meeting or communicating with the following persons: Nic'ole R¢m;.

(7) you shall refrain from I:l any or § excessive use of alcohol (defined as having a blood alcohol concentration greater
than 0.08; or I:] ), or any use of a narcotic drug or other controlled substance, as defined in § 102 of the Controlled
Substances Act (L U.S.C. § _80_2), without a prescription by a licensed medical practitioner.

(8) you shall refrain from possessing a firearm, destructive device. or other dangerous weapon.

(9) § you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which may

include urine testing up to a maximum of 104 tests per year.
§ you shall participate, at the direction of a probation officer, in a mental health treatment program, which may include
the use of prescription medications
[:I you shall participate, at the direction of a probation officer, in medical care; (if checked yes_, please specify: .)
jj (l O) (intermittent confinement): you shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
intervals of time, totaling [no more than the lesser of one year or the term of imprisonment authorized for the

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Sheet 3 - Supervised Release Jiidgment - Page 4 0f8

DEFENDANT: NEIL SHARMA

CASE NUMBER; 15 CR 50005»1
offense], during the first year of the term of supervised release (provided1 however, that a condition set forth in §
3563(b)(10) shall be imposed only for a violation of a condition of supervised release in accordance with § 3583(e)(2)
and only when facilities are available) for the following period

( l l) (ccrnrnunity confinement): you shall reside at, or participate in the program of a community corrections facility
(including a facility maintained or under contract to the Bureau of Prisons) for all or part of the term of supervised

releasc, for a period of months
(12) you shall work in community service for hours as directed by a probation officer.
(13) you shall reside in the following place or area: . or refrain from residing in a specified place or area;

§§§ l:l

(14) you shall remain within the jurisdiction where you are being supervised, unless granted permission to leave by the
court or a probation officer. The geographic area of the jurisdiction of the United States District Court of the
Northern District of Illinois currently consists of the Illinois counties of Cook, DuPage, Grundy, Kaiie, Kendall,
Lake, LaSalle, Will, Boone, Carroll, DeKalb, Jo Daviess, Lee, McHenry, Ogle, Stephenson, Whiteside, and
Winnebago.

(15) you shall report to a probation officer as directed by the court or a probation ofticer.

(16) you shall permit the probation officer to visit you at home between the hours of 6:002m and 10:00 pin or at work,
upon prior notice to you, and allow the probation officer to confiscate any contraband iri plain view of the officer.

(17) you shall notify a probation officer promptly, within 72 hours, of any change in residence, employer, or workplace and,
absent constitutional or other legal privilege, answer inquiries by a probation officer.

(18) you shall notify a probation officer promptly, within 72 hours, if arrested or questioned by a law enforcement officer.

(19) (home confinement): you shall remain at your place of residence for a total of months during nonworking hours.
[This condition may be imposed only as an alternative to incarceration.]

l:l Coriipliance with this condition shall be monitored by telephonic or electronic signaling devices (the selection of
which shall be determined by a probation officer). Electronic monitoring shall ordinarily be used in connection
with home detention as it provides continuous monitoring of your whereabouts Voice identification may be used
in lieu of electronic monitoring to monitor home confinement and provides for random monitoring of your
whereabouts lf the offender is unable to wear an electronic monitoring device due to health or medical reasons, it
is recommended that home confinement with voice identification be ordered, which will provide for random
checks on your whereabouts Horne detention with electronic monitoring or voice identification is not deemed
appropriate and cannot be effectively administered in cases in which the offender has no bona fide residence, has a
history of violent behavior, serious mental health problems, or substance abuse; has pending criminal charges
elsewhere; requires frequent travel inside or outside the district; or is required to work more than 60 hours per
week.

m You shall pay the cost of electronic monitoring or voice identification at the daily contractual ratc, if you are
financially able to do so.

l:l The Court waives the electronic/location monitoring component of this condition

E] (20) you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State,

the District of Columbia, or any other possession or territory of the United States, requiring payments by you for the
support and maintenance of a child or of a child and the parent with whom the child is living

l:l (21) (deportation): you shall be surrendered to a duly authorized official of the Horneland Security Department for a
determination on the issue of deportability by the appropriate authority in accordance with the laws under the
lmmigration and Nationality Act and the established implementing regulationsl lf ordered deported, you shall not
reenter the United States without obtaining, in advance, the express written consent of the Attorney General or the
Secretary of the Department of Homeland Security.

(22) you shall satisfy such other special conditions as ordered below.

(23) (if required to register under the Sex Offender Registration and Notit`ication Act) you shall submit at any time, with or
without a warrant, to a search of your person and any property, house, residence, vehicle, papers1 computer, other
electronic communication or data storage devices or media, and effects, by any law enforcement or probation officer
having reasonable suspicion concerning a violation of a condition of supeivised release or unlawful conduct by you, and
by any probation officer in the lawful discharge of the officer‘s supervision functions (see special conditions section).

[:l (24) Other:

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SPECIAL CONDITIONS OF SUPERVISEI) RELEASE PURSUANT TO 18 U.S.C. 3563(1))(22) and 3583(d)
The court imposes those conditions identified by checkinarks below:

During the term of supervised release:

l:l (l) if you have not obtained a high school diploma or equivalent, you shall participate in a General Educational
Development (GED) preparation course and seek to obtain a GED within the iirst year of supervision

l:l (2) you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60
days of placement on supervision

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Sheet 3 f Supexvisecl Release lodginth v Page 5 ofS

DEFENDANT: NEIL SHARMA
CASE NUMBER: 15 CR 50005-1
m (3) you shall, if unemployed after the first 60 days of Supervision, or if unemployed for 60 days after termination or lay-off
from employment, perform at least 20 hours of community service per week at the direction of the U.S. Probation Office
until gainfully employed The amount of community service shall not exceed hours.
[:| (4) you shall not maintain employment where you have access to other individual’s personal information including, but not
limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer.
(5) you shall not incur new credit charges or open additional lines of credit without the approval of a probation officer unless
you are in compliance with the financial obligations imposed by this judgment
(6) you shall provide a probation officer with access to any requested financial information necessary to monitor compliance
with conditions of supervised release

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(7) you shall notify the court or probation officer of any material change in your economic circumstances that might
affect your ability to pay the special assessment and reimbursement to the government for funds expended.

(8) you shall provide documentation to the IRS and pay taxes as required by law.

(9) you shall participate iii a sex offender treatment program The specific program and provider will be determined by a
probation officer. You shall comply with all recommended treatment which may include psychological and physiological
testing You shall maintain use of all prescribed medications
[:l You shall comply with the requirements of the Computer and lnternet Monitoring Program as administered by the

United States Probation Office. You shall consent to the installation of computer monitoring software on all

identified computers to which you have access The software may restrict and/or record any and all activity on the

computer, including the capture of keystrokes, application information lnternet use history, email

correspondence, and chat conversations A notice will be placed on the computer at the time of installation to

warn others of the existence of the monitoring software. You shall not remove, tamper with, reverse engineer, or
in any way circumvent the software

The cost of the monitoring shall be paid by you at the monthly contractual rate, if` you are financially able, subject

to satisfaction of other financial obligations imposed by this judgment

You shall not possess or use any device with access to any online computer service at any location (including

place of employment) without the prior approval of a probation officer. This includes any lnternet service

provider, bulletin board system, or any other public or private network or email system.

You shall not possess any device that could be used for covert photography without the prior approval of a

probation officer.

You shall not view or possess child pornographyl If the treatment provider determines that exposure to other

sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely

to assist the treatment process, such proposed conditions shall be promptly presented to the court, for a

determination pursuant to 18 U.S.C. § 3583(e)(2), regarding whether to enlarge or otherwise modify the

conditions of supervision to include conditions consistent with the recommendations of the treatment provider.

You shall not, without the approval of a probation officer and treatment provider, engage in activities that will put

you in unsupervised private contact with any person under the age of 18, or visit locations where children

regularly congregate (e.g., locations specified in the Sex Offender Registration and Notification Act.)

This condition does not apply to your family members: [Names]

Your employment shall be restricted to the district and division where you reside or are supervised, unless

approval is granted by a probation officer. Prior to accepting any form of employmentyou shall seek the approval

cfa probation officer, in order to allow the probation officer the opportunity to assess the level of risk to the
community you will pose if employed in a particular capacity. You shall not participate in any volunteer activity
that may cause you to come into direct contact with children except under circumstances approved in advance by

a probation officer and treatment provider

m You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and
any other financial information requested

l:] You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
impose restrictions beyond those set forth in this order.

[] (10) you shall pay any financial penalty that is imposed by this judgment that remains unpaid at the commencement of the
term of supervised release. Your monthly payment schedule shall be an amount that is at least $ or % of
your net monthly income1 defined as income net of reasonable expenses for basic necessities such as food, shelter1
utilities, insurance, and employment-related expenses

(l l) you shall riot enter into any agreement to act as an informer or Special agent of a law enforcement agency without the
permission of the court.

(12) you shall repay the United States "buy money" iu the amount of $2,500 which you received during the
commission of this offense. Payment should be made to the Clerk of the Court.

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l:l (13) if the probation officer determines that you pose a risk to another person (includirig an organization or members of the
community), the probation officer may require you to tell the person about the risk, and you must comply with that

Case: 3:15-cr-50005 Document #: 69 Filed: 06/19/17 Page 6 of 8 Page|D #:367

ILND 24513 {Rev. 08!02/2016) Judgmer\t in a Criininal Case

Sheet 3 f Supervised Release judgment j Page 6 ofS

DEFENDANT: NEIL SHARMA

CASE NUMBER: 15 CR 50005-1
instruction Such notification could include advising the person about your record of arrests and convictions and
substance use. The probation officer may contact the person and confirm that you have told the person about the risk.

@ (14) you shall pay the special assessment and compensation for government funds balance to the clerk of the court at a rate of
not less than ten percent of your gross earnings minus federal and state income tax withholdings until the criminal
monetary penalties have been paid in full.

§ (15) you shall surrender your passport to United States Probation.

Case: 3:15_-cr-50_005 Document #: 69 Filed: 06/19/17 Page 7 of 8 Page|D #:368
ILND 245B (Rev. 03#02/20] 6) judgment in a Cruninal Case
Sheet 5 f Ciiminal Monetary Penalties Judgment f Page '." of 8

DEFENDANT: NEiL sHARMA
CASE NUMBER; 15 cR 50005_1
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
Totals $ 100.00 $ 33
[:] The determination of restitution is deferred until . AnAmendea’ Jtidgmenr in n Crimz`naf Case (A0245Ci will be entered after such

determination

[:| The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

lf the defendant makes a partial payment1 each payee shall receive an approximately proportioned payment_, unless specified otherwise in
the priority order or percentage payment column below. I-Iowever, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*' Restitution Ordered Priority or
Percen

 

Totals:

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1`). All of the payment options on Sheet 6 may be
subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

E[:|

l:] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
m the interest requirement is waived for the
l:] the interest requirement for the is modified as follows:

|:] The defendant’s non-exempt assets, if any, are subject to immediate execution to satisfy any outstanding restitution or fine
obligations

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.

Case: 3:15_-cr-50_005 Document #: 69 Filed: 06/19/17 Page 8 of 8 Page|D #:369
ILND 245B (Rev. 08/(}2/2016) Judgment m a Crlminal Case

Sheet 6 f Schcdule Ol` Paymenls Judgment f Page 8 of 8

DEFENDANT: NEIL SHARMA
CASE NUMBER: 15 CR 50005-1

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A |:| Lurnp sum payment of $ due immediately

ll balance due not later than , or

ij balance due in accordance with |:l C, I:i D, l:l E, or l:] F below; or

B m Payment to begin immediately (may be combined With |:I C, |:| D, or I:] F below); or

C i:| Payment in equal (e.g. weekfy, monthly quarterfyyl installments of$ over a period of (eig., months oryears), to
commence (e.g.. 30 or 60 days) after the date of this judgment; or

D |:] Payment in equal (e.g. Wee.»'dy, monthly, quarte)'iy) installments of 5 Over a period of (e.g.. months oryears), to
commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E [:] Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from imprisonment.
The court will set the payment plan based on an assessment ofthe defendant’s ability to pay at that time; or

F I:I Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment Al[ criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ lnmate Financia|
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed

|:l Joint and Several

Case Number Total Amount Joint and Several Corresponding Payee, if
Defendant and Co-Defendant Names Amount Appropriate
(including defendant number)

l:i The defendant shall pay the cost of prosecution
l:| The defendant shall pay the following court cost(s):

l:l The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order1 (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution1 (7) penalties, and (8) costs1 including cost of` prosecution and court costs.

